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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

DAVID ADRIAN SMITH,                               §
               PLAINTIFF,                         §
                                                  §
V.                                                § CIVIL CASE NO. 3:22-CV-1580-B-BK
                                                  §
WWE INC., ET AL.,                                 §
                DEFENDANTS.                       §

                                              ORDER

        Plaintiff seeks the appointment of counsel but fails to present facts showing

circumstances that establish the Court should exercise its discretion to appoint counsel. Doc. 6,

        A court may appoint counsel for a plaintiff proceeding in forma pauperis if the case

presents “exceptional circumstances.” Ulmer v. Chancellor, 691 F.2d 209, 213 (5th Cir. 1982);

see Castro Romero v. Becken, 256 F.3d 349, 353-54 (5th Cir. 2001) (concluding an in forma

pauperis plaintiff is not entitled to court-appointed counsel as a matter of law); 28 U.S.C. §

1915(e)(1). In determining whether a case presents exceptional circumstances, the court may

consider the following factors: (1) the type and complexity of the case; (2) whether the indigent

plaintiff is capable of adequately presenting the case; (3) whether the indigent is in a position to

investigate adequately the case; and (4) whether the evidence will consist in large part of

conflicting testimony so as to require skill in the presentation of evidence and in cross

examination. Ulmer, 691 F.2d at 213.

        Here, the motion to appoint counsel is unsupported and conclusory. Plaintiff has not

shown that the case presents exceptional circumstances warranting the appointment of counsel.

        For the foregoing reasons, Plaintiff’s request for the appointment of Counsel is DENIED
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WITHOUT PREJUDICE as premature pending completion of the Court’s screening process.

      SO ORDERED on August 4, 2022.




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